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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case



                                        UNITED STATES DISTRJCT COURT
                                                                       for the                               FILED03 APR '19 ii :()4USDC·ORP
                                                     _____ District

                                                         ~or+l°'-n d Division

                                                                           )     Case No.     a;/_9,~// ~ L/f5 - SL
                                                                           )                    (to be fi!!ed in by the Clerk's Office)
                                                                           )
                                                                           )
(Write the fall name of each plaintiffwlw isfili11g this comp!ai11t.
lfthe names of all the plaintiffs cannotfit in the space above,
                                                                           )     Jury Trial: (check one)    D Yes        0No
please write ''see attached" in the space and attach an additional         )
page with thefu!! list of names.)                                          )
                                  -v-                                      )
                                                                           )
                                                                           )
                                                                           )
                                                                           )
                              Defendant(~)
                                                                           )
(Write the.full name of each defendant who is being sued. Jfthe
names ofall the defendants cannot fit in the space above, please       -   )
write "see attached" in the space (111d attach an additional page          )
with the.full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization. or a corporation. For an individual defendant
                     include the person's job or title (({known). Attach additional pages if needed.


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                     Defendant No. 1
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address ([(known)
                                                                    -- --- - - - - - - - - - - - - - - - - - - -


                     Defendant No. 2
                                Name
                                Job or Title (i/ known)
                                Street Address
                                City and County
                                 State and Zip Code
                                Telephone Number
                                E-mail Address (!f !mown)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                 Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address ([(known)


                     Defendant No. 4
                                Name
                                Job or Title (1f /mown)
                                 Street Address
                                                                    --·   ---   -------------------
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address    (ifkno11•11)




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II.       Basis for Jurisdiction

          Federal coutis are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that appM
                  @Federal question                                 D Diversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.                                                                       "
                                                                                                                     -~~~..,,.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      l.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                                                                                                     , is a citizen of the
                                            State of (name)


                                 b.         If the plaintiff is a corporation
                                            The plaintiff, /name/   l..\~l\. ~ tUet"S
                                            under the laws of the State of (name)
                                                                                         /Gu.111..~~D¾J-           1 ,   is incorporated


                                            and has its principal place of business in the State of (name)



                                 (ff more than one plaint(ff is named hz the complaint, attach an addWonal page providing the
                                 same information for each additional plaint(fj.)

                     2.          The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant,     (name J                                               , is a citizen of
                                                                                           ----------
                                            the State of (name)                                                    Or is a citizen of
                                            (foreign nation)


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                                    b.         If the defendant is a corporation
                                               The defendant, (name)                                        , is incorporated under
                                                                         --------------
                                               the laws of the State of (name)                                        ' and has its
                                               principal place of business in the State of (name)
                                               Or is incorporated under the laws of (foreign nation)
                                               and has its principaJ place of business in (name)


                                    (If more than one defendant is named in the complaint, attach an additional page providing the
                                    same information for each additional defendant.)

                         3.         The Amount in Controversy

                                    The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                    stake-is more than $75,000, not counting interest and costs of court, because (explain):




    III.       Statement of Claim

              Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
              facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
              involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
              the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
              write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
                                             Et\\', h:+ \>)    ~


                                               ~vt

    IV.        Relief




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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery~ and ( 4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. 1 understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                     Date of signing:


                      Signature of Plaintiff
                     Printed Name of Plaintiff


           B.         For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Street Address
                      State and Zip Code
                                                                                                               ----·-
                      Telephone Number
                      E-mail Address




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